
ATTORNEY DISCIPLINARY PROCEEDINGS
PER CURIAM.
|,The Office of Disciplinary Counsel (“ODC”) commenced an investigation into allegations that respondent neglected a legal matter and allowed the matter to prescribe, failed to communicate with a client, and failed to return a client file upon request. Prior to the filing of formal charges, respondent and the ODC submitted a joint petition for consent discipline. Having reviewed the petition,
IT IS ORDERED that the Petition for Consent Discipline be accepted and that James Spruel, Jr., Louisiana Bar Roll number 12352, be suspended from the practice of law for a period of one year, with all but six months deferred, followed by a one-year period of unsupervised probation. The probationary period shall commence from the date respondent and the ODC execute a formal probation plan. Any failure of respondent to comply with the conditions of probation, or any misconduct during the probationary period, may be grounds for making the deferred portion of the suspension executory, or imposing additional discipline, as appropriate.
IT IS FURTHER ORDERED that all costs and expenses in the matter are assessed against respondent in accordance with Supreme Court Rule XIX, § 10.1, with legal interest to commence thirty days from the date of finality of this court’s judgment until paid.
